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10                                UNITED STATES DISTRICT COURT

11                                       DISTRICT OF NEVADA

12                                          Northern Division

13    SECURITIES AND EXCHANGE                         Case No. 3:16-cv-00270-MMD-VPC
      COMMISSION,
14
                                                      Honorable Miranda Du
                    Plaintiff,
15
                                                      FINAL JUDGMENT AS TO RELIEF
             vs.                                      DEFENDANT THE WATER-WALKING
16
                                                      FOUNDATION, INC.
      DAVID B. KAPLAN, ESQ.,
17    SYNCHRONIZED ORGANIZATIONAL
      SOLUTIONS, LLC,
18    SYNCHRONIZED ORGANIZATIONAL
      SOLUTIONS INTERNATIONAL, LTD.,
19    and MANNA INTERNATIONAL
      ENTERPRISES, INC.,
20
                    Defendants,
21
             and
22
      LISA M. KAPLAN,
23    THE WATER-WALKING
      FOUNDATION, INC., and
24    MANNA INVESTMENTS, LLC,
25                  Relief Defendants.
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                                                                    Case No. 3:16-cv-00270-MMD-VPC
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 1          The Securities and Exchange Commission having filed a Complaint, Relief Defendant The

 2   Water-Walking Foundation, Inc. (“Relief Defendant”) having entered a general appearance;

 3   consented to the Court’s jurisdiction over Relief Defendant and the subject matter of this action;

 4   consented to entry of this Final Judgment without admitting or denying the allegations of the

 5   Complaint (except as to jurisdiction and except as otherwise provided herein in paragraph III);

 6   waived findings of fact and conclusions of law; and waived any right to appeal from this Final

 7   Judgment:

 8                                                      I.

 9          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Relief

10   Defendant is liable for disgorgement of $599,012.34, representing funds received as a result of the

11   conduct alleged in the Complaint, together with prejudgment interest thereon in the amount of

12   $45,363.74. Relief Defendant shall partially satisfy this obligation through the transfer of a balance

13   held in the frozen account after entry of this Final Judgment, as set forth in paragraph II below.

14   Any amounts paid toward disgorgement by Relief Defendant shall be credited against the amount

15   Defendants have been ordered to disgorge.

16          The Commission may enforce the Court’s judgment for disgorgement and prejudgment

17   interest by moving for civil contempt (and/or through other collection procedures authorized by

18   law) at any time after 14 days following entry of this Final Judgment. Relief Defendant shall pay

19   post judgment interest on any delinquent amounts pursuant to 28 U.S.C. § 1961. The Commission

20   shall hold the funds, together with any interest and income earned thereon (collectively, the

21   “Fund”), pending further order of the Court.

22          The Commission may propose a plan to distribute the Fund subject to the Court’s approval.

23   Such a plan may provide that the Fund shall be distributed pursuant to the Fair Fund provisions of

24   Section 308(a) of the Sarbanes-Oxley Act of 2002. The Court shall retain jurisdiction over the

25   administration of any distribution of the Fund. If the Commission staff determines that the Fund

26   will not be distributed, the Commission shall send the funds paid pursuant to this Final Judgment to

27   the United States Treasury.

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 1                                                       II.

 2           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that within 3 days after being

 3   served with a copy of this Final Judgment, Wells Fargo Bank, N.A. (“Wells Fargo”) shall transfer

 4   the entire balance of the following Wells Fargo accounts which were frozen pursuant to an Order of

 5   this Court to the Commission:

 6                  Account Owner                                          Acct. Ending in:
                    The Water-Walking Foundation, Inc.                     #XXX-5045
 7

 8           Wells Fargo may transmit payment electronically to the Commission, which will provide
 9   detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly from
10   a bank account via Pay.gov through the SEC website at http://www.sec.gov/about/offices/ofm.htm.
11   Wells Fargo also may transfer these funds by certified check, bank cashier’s check, or United States
12   postal money order payable to the Securities and Exchange Commission, which shall be delivered
13   or mailed to
14           Enterprise Services Center
             Accounts Receivable Branch
15           6500 South MacArthur Boulevard
             Oklahoma City, OK 73169
16

17   and shall be accompanied by a letter identifying the case title, civil action number, and name of this
18   Court; and specifying that payment is made pursuant to this Final Judgment.
19                                                       III.

20           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is incorporated

21   herein with the same force and effect as if fully set forth herein, and that Relief Defendant shall comply

22   with all of the undertakings and agreements set forth therein.

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                                                         3                      Case No. 3:16-cv-00270-MMD-VPC
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 1                                                    IV.

 2          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

 3   jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.

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             January 8, 2018 2017
     Dated: ______________,
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                                                   ____________________________________
 6
                                                   The Honorable Miranda Du
 7                                                 United States District Judge

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                                                       4                     Case No. 3:16-cv-00270-MMD-VPC
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             EXHIBIT B
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